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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF KENTUCKY

CHRISTINA M. YEOMAN,                       )
                                           )
       Plaintiff,                          )
                                           )
vs.                                        )      CASE NO. 5:17-cv-00435-KKC
                                           )
EQUIFAX INFORMATION SERVICES               )
LLC, et al.,                               )
                                           )
       Defendants.                         )

                              AGREED ORDER OF DISMISSAL
       Upon agreement of the Plaintiff, Christina M. Yeoman, and the Defendant, Weltman,

Weinberg & Reis Co. PSC, each by counsel, and the Court being otherwise sufficiently advised;

       IT IS HEREBY ORDERED that Plaintiff’s claims asserted in this litigation against

Weltman, Weinberg & Reis Co. PSC are hereby DISMISSED WITH PREJUDICE, each party to

bear its own attorneys’ fees and costs.


Respectfully Submitted

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April 23, 2018
